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Case 4:18-cv-00876-O Eé(`£ument”&fl:l|ed 0/25/18 |3age1of2 Page|D 29

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERNDDBST§TCT OF`TEXAS

:. w FOPPWH§'THF“ ivt§fod" )`AS

?§§ESES)RODRIGUEZ " " " “ case #:4-16-<:1<-00029-0(04)

V ' 0§ 2 5 2018 H. JUDGE= REE:D c.'o'coNNoR
'._._.§… …_“-,`.,,__ U.S. DISTRICI JUDGE

UNITED STATES oF AMERI<:A CBI:YERK’ L§§S D_§z:€ff£mgg 1 8 § ij “” 3 § 6
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NT)AHLJQHIONTK)PMXEID HJEUHW\PNHTBISJ'

 

 

 

Comes now the Movant, Arnulfo Rodriguez, Pro Se in this ac-
tion, requesting that the Court order he be allowed to receive
copies of documentation and the record without being required
to pay for them. `

ln support to this motion, he shows to the Honorable Court
the following:

-That he is in fact "Indigent" as he has been previously determined
by this Court by assigning his case to a Public Federal Defender
and being represented by attorney Robert J Herrington, appointed

by the Court.

-That his actual material and financial position, has not improved
enough\to afford an attorney during his incarceration.

-That he is in fact requesting a proper In Forma Pauperis designation
as an lndigent due to his poverty status in his forthcoming
actions.

-That pursuant to 28 U.S.C. §2250, an lndigent prisoner is entitled
to documents without cost.

Therefore, Movant herein request his motion to be granted
so that, he be provided with the necessary documentation without

costs and he be recognized as an lndigent and any other action

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the Court may deem beneficial to him or his actions before the
Court.

For this, he forever prays.
This October 24, 2018.

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RODRIGUEZ REG. 53753-177

BOP GILES W. DALBY C.F. (Al-27L)

805 NIUH.NWILE F

POST, TEXAS 79356
V]§R.IF`ICIATTI()N.

l have read the foregoing "Motion to Receive Copies At Government'S
§§g§me mmiApkamtdano Proceed In Forma Pauperis" and hereby
verify that the matters alleged herein are true, except as to
matters alleged on information and belief, and as to those,

l believe them to be true. l certify under the penalty of perjury

that the foregoing is true and correct. EXecuted at POSt, TeXaS

Anuj@ ébfwgdca
NBWLR)ROMHG .

REG. # 53753-177
_ PRO-SE LITIGANT

on this October 24, 2018.

CEIRTEI F [(IA’IEZ ()F S EIKV I(IE.
l certify under the penalty of perjury that the foregoing "Motion

to Receive Copies At Government's Egpense and Application To
Proceed In Forma Pauperisv was placed into the prison's mail
System, postage pre-paid, for service upon this Honorable Court
Via United States Mail system on October 24, 2018, to the United
States Dsitrict Court Clerk, for the Northern District of Texas,
fort Worth Division at 501 W. lOth Street, Room 310, Fort Worth,
Texas 76102. Movant asks this Court's Clerk to serve all other

interested parties via electronic notification.

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